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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

DEANNA K. ORTIZ,                                §
                                                §
               Plaintiff,                       §
                                                § Civil Action No. 3:18-CV-1347-D
VS.                                             §
                                                §
ENHANCED RECOVERY COMPANY,                      §
LLC,                                            §
                                                §
               Defendant.                       §

                                           JUDGMENT

        For the reasons set out in a memorandum opinion and order filed today, it is ordered and

adjudged that plaintiff’s action is dismissed with prejudice.

        Defendant’s taxable costs of court, as calculated by the clerk of court, are assessed against

plaintiff.

        Done at Dallas, Texas June 6, 2019.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              SENIOR JUDGE
